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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WARREN HILL, LLC,                                  : CIVIL ACTION
                                                   :
                        Plaintiff,                 : 2:18-01228-HB
                                                   :
        v.                                         :
                                                   :
                                                   :
SFR EQUITIES, LLC,
                                                   :
                                                   :
                              Defendant.


      DEFENDANT SFR EQUITIES, LLC’S MOTION FOR PARTIAL SUMMARY
      JUDGMENT REGARDING ALL DIRECT PAYMENTS, PAST AND FUTURE,
                TO BCM AS TRUST CERTIFICATE HOLDER




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Dated: April 25, 2019




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